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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                            Case No.: 1:20-cv-20543-Williams-Torres


  BRUCE JACOBS,


        Plaintiff,
                       v.

  JP MORGAN CHASE BANK, N.A.,


        Defendant.
  _________________________________________/

                          DEFENDANT’S MOTION TO DISMISS
                     AND INCORPORATED MEMORANDUM OF LAW
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         JPMorgan Chase Bank, N.A. (“JPMC”) respectfully moves this Court to dismiss with
  prejudice Plaintiff-Relator Bruce Jacobs’ Corrected False Claims Act Complaint pursuant to
  Federal Rules of Civil Procedure 8, 9(b), and 12(b)(6). The Complaint should be dismissed
  because (1) Jacobs’ claims are prohibited by the False Claims Act’s public disclosure bar, (2) the
  Complaint is an impermissible shotgun pleading, and (3) the Complaint fails to allege, plausibly
  or with particularity, that JPMC violated the False Claims Act.
                                          INTRODUCTION
         In September 2008, JPMC purchased the residential mortgage loans and mortgage
  servicing rights of Washington Mutual Bank (“WAMU”) from the Federal Deposit Insurance
  Corporation. Jacobs alleges—notwithstanding sworn testimony to the contrary and no evidence
  in support—that JPMC applied WAMU endorsement stamps to WAMU promissory notes years
  after WAMU ceased to exist, and then presented those promissory notes to courts in judicial
  foreclosure proceedings. According to Jacobs, this allegedly fraudulent conduct meant that
  JPMC failed to obtain good marketable title in those foreclosure proceedings, and that JPMC
  violated the False Claims Act (“FCA”) by making false claims when it presented those
  foreclosure titles to Fannie Mae and Freddie Mac.
         Jacobs claims that he learned of this supposed endorsement scheme through litigating
  five foreclosure cases against JPMC. His allegations about this supposed scheme are meritless.
  But just as important for this motion, the allegations are also not new. For years, homeowners in
  foreclosure proceedings have advanced these same unsupported allegations—namely, that
  JPMC, not WAMU, endorsed WAMU promissory notes; that JPMC did so after WAMU had
  failed; and that JPMC could not rely on these notes to establish standing to foreclose. Again, the
  homeowners offered no evidence to support these allegations. But because the allegations have
  long been public, the FCA’s public disclosure bar—which prohibits qui tam actions alleging
  conduct that has already been disclosed publicly—requires dismissal with prejudice.
         Further, to the extent the Court does not dismiss under the public disclosure bar, it should
  dismiss Jacobs’ Complaint as an impermissible “shotgun pleading.” Jacobs’ Complaint consists
  of largely illogical and irrelevant allegations, rendering it difficult for the Court or JPMC to
  understand the conduct alleged or how it supposedly violates the FCA. The Eleventh Circuit has
  explicitly warned against this type of complaint. See, e.g., Vibe Micro, Inc. v. Shabanets, 878



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  F.3d 1291, 1295 (11th Cir. 2018); Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313,
  1323 (11th Cir. 2015).
         Jacobs’ complaint should also be dismissed because it does not come close to meeting the
  heightened pleading standard of Rule 9(b) or even the plausibility standard of Rule 8. This is
  true for several reasons.
         First, a FCA case turns on the actual submission of a false claim—yet Jacobs’ Complaint
  provides almost no allegations, and certainly no particularized allegations, regarding the claims
  that JPMC allegedly submitted to Fannie Mae and Freddie Mac. It includes contradictory and
  confusing allegations regarding what the claims were for, what the claims consisted of, or what
  payments JPMC supposedly received as a result.
         Second, Jacobs’ Complaint does not adequately allege falsity—the lynchpin of a FCA
  claim. Jacobs makes conclusory allegations that the five cases he litigated show that JPMC
  fraudulently endorsed the WAMU promissory notes and that any foreclosures that relied on
  those notes resulted in unmarketable title. But the sworn testimony from these cases points to
  the opposite conclusion—that WAMU, not JPMC, endorsed the promissory notes. Even if the
  five cases did suggest some impropriety with respect to the endorsement of those WAMU notes,
  the Complaint includes no allegations to connect that alleged misconduct from the five
  foreclosure cases Jacobs handled with the 40 “representative sample” claims (identified in the
  appendix to the Complaint) that JPMC supposedly submitted to Fannie Mae and Freddie Mac.
  Jacobs does not allege that the loans for the five cases he litigated were submitted to Fannie Mae
  and Freddie Mac, nor does he allege that he litigated the foreclosures associated with those 40
  representative claims. In fact, the Complaint does not include any allegations suggesting
  anything improper about those claims. Further still, had Jacobs alleged some irregularity in the
  foreclosures related to the 40 sample loans (he does not), these irregularities would not under
  Florida law result in unmarketable title. In other words, even if everything Jacobs alleges about
  JPMC’s endorsement process was true, the foreclosure titles nonetheless would be marketable—
  and therefore the claims Jacobs says JPMC submitted to Fannie Mae and Freddie Mac still
  would not be false.
         Third, and finally, not only does the Complaint fail to plead with particularity the
  submission of a claim or how any such claim might be false, but it also does not even attempt to
  allege any facts regarding JPMC’s knowledge that any of those 40 claims falsely attested to the

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  marketability of foreclosure title, notwithstanding that the FCA’s scienter requirement is a
  rigorous one. For each of these reasons, the Complaint fails to state a claim and should be
  dismissed.
                                           BACKGROUND
  I.     Public Allegations Regarding JPMC’s Conduct Regarding WAMU Loans
         In September 2008, the Office of Thrift Supervision closed WAMU, and the Federal
  Deposit Insurance Corporation (FDIC) was named the receiver of the failed bank. JPMC then
  purchased certain of WAMU’s assets from the FDIC, including WAMU’s residential mortgage
  loans and the servicing rights with respect to those mortgages.
         As relevant to this action, when a Florida mortgagor defaults, the mortgagee or servicer
  must file a foreclosure complaint in state court; Florida is a judicial foreclosure state, and so
  foreclosures must occur via the court process. The complaint must include “affirmative
  allegations” stating that “at the time the proceeding is commenced,” “the plaintiff is the holder of
  the original note secured by the mortgage,” Fla. Stat. § 702.015(2)(a), or, in the alternative, that
  it is “entitled to enforce [the] note” as a non-holder, id. § 673.3011. A foreclosing party claiming
  to be a note holder must file with its complaint a certification that includes “copies of the note.”
  Id. § 702.015(4). If the foreclosing party meets these requirements, it has standing under Florida
  law to foreclose. See id. § 702.015(1)-(2).
         Since WAMU’s failure in 2008, mortgagors have routinely challenged JPMC’s
  foreclosures on loans that it purchased from WAMU, raising questions regarding the validity of
  the endorsement on WAMU promissory notes. Cosgrove Decl., Ex. 1 at 1. JPMC has
  consistently disputed these meritless allegations; we accept them here—as we must—only for
  purposes of this motion to dismiss.
         The endorsements at issue typically include a stamped signature of WAMU and also the
  signature of Cynthia Riley or other WAMU personnel, and are endorsed “in blank,” meaning
  they are not made out to any particular entity.1 Id. Mortgagors and their counsel have claimed


         1
            An endorsement is a signature—a writing or mark on the promissory note that indicates
  an intent to negotiate the instrument. A writing or mark by the present holder of a note is an
  endorsement unless accompanying words or other circumstances unambiguously indicate that it
  was made for purposes other than endorsement. See, e.g., Fla Stat. § 673.2041. An endorsement
  may name the transferee, or, as here, may be endorsed in “blank,” meaning that it does not name
  the transferee. A note endorsed in blank becomes a bearer instrument, and any party in
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  that, notwithstanding sworn testimony to the contrary and no evidence in support, WAMU did
  not endorse the promissory notes, but instead JPMC applied a WAMU endorsement stamp years
  after it acquired the loan—after WAMU had failed and after Riley and others were no longer
  authorized to act on WAMU’s behalf. Id. at 2. These mortgagors and their lawyers have
  claimed that JPMC relied on these notes to establish its standing to foreclose on WAMU loans.
  Id.2
         Multiple public sources have long disclosed these allegations. For instance, in January
  2014, the website Victory Over Chase—“[a] foreclosure information sharing site committed to
  saving homes from foreclosure”—posted an article entitled “Shenanigans Abound—WAMU’s
  Endorsement Of The Notes.” Id. at 1. The article discusses how thousands of WAMU
  promissory notes include Riley’s stamped endorsement, allegedly applied at a time when
  WAMU no longer existed and so Riley no longer worked there. The article begins by posing
  these questions: “Did Cynthia Riley actually endorse the notes? Or did robo-stampers endorse
  the Notes? Was Riley in a position of authority to endorse Notes at the time your Note was
  endorsed? … Is this another bank scheme to steal your home?” Id. The article continues by
  documenting how borrowers have learned more about note endorsement practices “through
  various discovery methods,” and concludes by questioning the validity of foreclosures pursued
  by JPMC while relying on WAMU promissory notes bearing Riley’s signature:
         Legal questions abound as the stamped blank endorsements on the WAMU …
         notes produced by JPMorgan Chase in countless foreclosure cases could not have
         been made nor authorized by Riley on mortgages that closed after November
         2006. Are these Notes endorsed in Cynthia Riley’s name after November 2006
         fake or a possible act of fraud on the Court in foreclosure lawsuits across
         America? Does JPMorgan Chase Bank N.A. have any standing whatsoever?

  possession is a holder of the note entitled to enforce it. Mortgagees authorize certain officials to
  affix the company’s endorsement to notes, and it is common for the companies to create
  signature stamps bearing the company’s endorsement along with the official’s signature, and also
  to authorize other personnel to apply the stamps to endorse notes on behalf of the company. See
  Transfer and Assignment of Residential Mortgage Loans in the Secondary Mortgage Market,
  American Securitization Forum White Paper Series, November 16, 2010, at 3 & 11; Meredith
  Smith, “All About Bass and Indorsements in a Power of Sale Foreclosure,” University of North
  Carolina School of Government, March 11, 2015.
         2
           The starting premise of these claims makes no sense. It is public, government record
  that JPMC acquired these loans from WAMU. There is accordingly no reason why JPMC would
  need to apply an endorsement stamp—which would be used to effectuate a transfer of the note
  from JPMC to another party.
                                                   4
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           How is it that thousands of WAMU … notes made after November 2006 came to
           be endorsed by Cynthia Riley when she was no longer employed as a Vice
           President?
   Id at 2-3.
           Another public news source, entitled “JPMorgan Chase Quits 5 ½ Year Foreclosure
   Case” and dated June 2015, appears on the website MFI Miami—Mortgage Fraud Investigation.
   Cosgrove Decl., Ex. 2. The article, written by an alleged expert in a foreclosure case, claims that
   in 2009, when JPMC filed a foreclosure case against his client Olympia Zacharakis, JPMC did
   not file a copy of an endorsed note and sent a copy of an unendorsed note to the expert. Id. at 2.
   The article goes on to allege that the case “sat collecting dust … for three years,” until 2012,
   when JPMC’s attorney claimed that the bank “found the missing endorsed note … [and]
   provided a mortgage note endorsed by Cynthia Riley.” Id. The article then describes how Ms.
   Zacharakis’ legal team learned that Cynthia Riley was removed as Vice President in November
   2006, and therefore argued that Riley would not have had the authority to endorse the note
   between 2009, when the note was unendorsed, and 2012, when the note was endorsed. Id. at 4.
   (As with Jacobs’ allegations, this is the time period after WAMU was closed, and thus when
   JPMC was in possession of the notes.) The article concludes by claiming that, on the eve of trial,
   and faced with the prospect of “hav[ing] to explain how Cynthia Riley’s endorsement stamp was
   affixed to the Zacharakis note,” JPMC voluntarily dismissed the case. Id. at 5.
           The allegations made in these articles are not unique. Other publicly available articles
   recount them as well,3 and all around the country, mortgagors have made the same allegations in
   foreclosure proceedings for years, including in litigation in federal court. See, e.g., Burke v.
   JPMorgan Chase Bank, N.A., 2017 WL 1330562, at *3 (N.D. Cal. Apr. 11, 2017) (In complaint


           3
             See, e.g., Garfield, The Mains Event: Demand that Attorney Generals Nationwide
   Comply with LPS / BlackKnight Consent Judgments, Livinglies Garfield Firm (Aug. 4, 2017),
   https://livinglies.me/tag/cynthia-riley/ (“It is astonishing that Mains has not prevailed in his
   lawsuit against … Chase. In his lawsuits, he has variously provided evidence …[that] His Note
   was ‘endorsed’ in blank and undated with stamp of one Cynthia Riley, a former WAMU
   employee laid off from her job at WAMU before his note was endorsed”); Foreclosures Of Old
   Washington Mutual By JPMorgan Chase Are Easy To Beat. However, You Need A Legal Team
   that Knows What They Are Doing, MFI-Miami, Mortgage Fraud Investigations (Nov. 2017),
   (https://mfi-miami.com/2017/11/jpmorgan-chase-1/ (“JPMorgan Chase began compulsively
   stamping almost every promissory note with Riley’s endorsement stamp. MFI-Miami has a file
   cabinet filled with foreclosure files containing Riley’s stamp that weren’t consummated until
   months or years after she left Washington Mutual.”).
                                                     5
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   filed in 2013, “[p]laintiffs assert that Cynthia Riley, the purported endorser of the note, testified
   she was laid off from WaMu in 2006. She could not have signed the 2007 note if she was laid
   off in 2006.”); John J. Pembroke Living Tr. v. U.S. Bank Nat’l Ass’n for WaMu Series 2006-
   AR11 Tr., 2016 WL 9710025, at *2 (D. Colo. Oct. 24, 2016) (Following a judgment in 2015,
   “[p]laintiff claims to have discovered .… evidence [that] suggests either that Riley was never
   stationed in the location where the Note was allegedly endorsed or that Riley was no longer
   employed by WaMu at the time the Note was allegedly endorsed.”), aff’d, 732 F. App’x 678
   (10th Cir. 2018); Drobny v. JP Morgan Chase Bank, NA, 929 F. Supp. 2d 839, 842 (N.D. Ill.
   2013) (In complaint filed in 2013, “[p]laintiffs base their allegations regarding the indorsement
   on an unattributed ‘determin[ation]’ that ‘[t]he signature stamp for the blank endorsement by
   Cynthia A. Riley has been reported as the one most commonly used by the people that forged
   that endorsement.’”).
   II.    This Lawsuit
          Purportedly acting as a qui tam relator, Jacobs parrots these same allegations in his
   Complaint against JPMC. In particular, mirroring the articles just mentioned, Jacobs alleges that
   JPMC used document custodians to affix WAMU endorsements after WAMU no longer existed.
   See Compl. ¶ 8. He further alleges, just like in the publicly disclosed allegations, that these
   endorsements bore the signatures of former WAMU employees, including Cynthia Riley and
   others, and that JPMC presented those endorsed promissory notes in foreclosure proceedings as
   evidence of standing to foreclose.4 See id. ¶¶ 9, 80. And he alleges that JPMC and its “Outside
   Counsel” have covered up the scheme by refusing to produce records that show when the



          4
              In addition to being inadequately pled, Jacobs’ allegations, like those that have been
   publicly disclosed, are nonsensical: There is no reason why JPMC, which acquired the WAMU
   loans from the FDIC, would need to apply WAMU endorsement stamps to these promissory
   notes. First, JPMC could foreclose without an endorsed note. Fla. Stat. § 673.3011(2). Second,
   if in fact the FDIC had sold or assigned notes to JPMC that were not properly endorsed, JPMC
   would have a statutory right to compel the FDIC to endorse the notes. Fla. Stat. § 673.2031(3).
   Third, the FDIC, as receiver of WAMU, acquired all “rights, titles, powers, and privileges” of
   WAMU. 12 U.S.C. § 1821(d)(2). The FDIC therefore could enforce the notes without relying
   on any endorsement—and when the FDIC assigned the notes to JPMC, JPMC acquired those
   same rights. LLP Mortgage Ltd. v. Cravero, 851 So. 2d 897, 898 (Fla. 4th DCA 2003) (citing
   “rather universally followed proposition that an assignee stands in the shoes of the assignor and
   has all the rights enjoyed by the assignor”). Jacobs’ theory of a grand conspiracy to violate state
   and federal law never accounts for these obvious legal points.
                                                     6
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   WAMU endorsements were affixed, and have engaged in fraud by “mislead[ing] the courts with
   unethical arguments.” Id. ¶ 63; see also id. ¶¶ 10, 12, 15.
          According to Jacobs, JPMC’s alleged “forgery, perjury, [and] gross fraud” violate
   Florida’s RICO Statute—Jacobs deems this conduct the “RICO False Claims Scheme”—and any
   foreclosures that relied on the “[F]orged WAMU Endorsements” meant that JPMC did not gain
   marketable title as a result of the foreclosure proceeding. Compl. ¶ 12. Jacobs alleges that, as a
   result, JPMC submitted false claims to Fannie Mae and Freddie Mac, in violation of
   requirements that JPMC convey marketable title and certify that it has done so. Id. ¶ 16.
   Appendix A to Jacobs’ Complaint is a purported “representative sample of false claims” that
   Jacobs contends are “WAMU loans JPMC foreclosed upon using the Forged WAMU
   Endorsements and transferred title to Fannie or Freddie.” Id. ¶¶ 29-30.
          A.      Jacobs’ Allegations Regarding Five Cases He Litigated Against JPMC
          Jacobs, “an attorney who practices law in the area of foreclosure defense … in South
   Florida courts,” Compl. ¶ 3, claims to have learned of the “RICO False Claims Scheme” through
   litigating foreclosure cases against JPMC. See id. And while he proceeds to reference five
   specific cases he litigated, see id. ¶¶ 64-77, none of the cases evidences the fraud he alleges, and
   some of the cases do not even relate to Jacobs’ fraud allegations regarding WAMU note
   endorsements. For instance, in describing Lumar, Jacobs admits that the case did not involve a
   WAMU endorsement stamp—rather, he alleges that it “involve[ed] a different method JPMC
   used to add endorsements.” Id. ¶ 71. In explaining the factual background surrounding another
   case, Riley, Jacobs alleges that the case involved a dispute over “a false mortgage loan schedule
   [and] a false mortgage assignment.” Id. ¶ 64.
          In fact, of the cases that Jacobs litigated, only one, Mohammed, includes any factual
   allegations regarding the timing of an endorsement. Jacobs claims that “JPMC produced a report
   that shows the Mohammed promissory note was originated on September 13, 2007, and that
   WAMU scanned the Mohammed promissory note without any endorsements … nearly a month
   later on October 4, 2007.” Compl. ¶ 65. He then alleges that this report “shows the first image
   in JPMC’s system of the Mohammed’s original note with a rubberstamped Cynthia Riley blank
   WAMU endorsement is dated January 20, 2010.” Id. ¶ 66. And because in his view “JPMC
   produced no competent evidence that WAMU affixed the Cynthia Riley endorsement to the



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   Mohammed promissory note before shutting down in September 2008,” he alleges that JPMC
   fraudulently applied a WAMU endorsement stamp after WAMU no longer existed. Id.
          However, the sworn testimony that Jacobs references—and attaches to his Complaint—
   directly refutes his conclusory allegation. This testimony, from both JPMC and former WAMU
   personnel, generally establishes two relevant points. First, once WAMU originated a loan, it
   imaged an unendorsed note in its system and then sent the note to be endorsed. See, e.g., Compl.
   Ex. J. at 87, 95, 117; id. Ex. K at 31-33, 42-43, 45-46, 49. Second, JPMC did not apply WAMU
   endorsement stamps to WAMU promissory notes. See id. Ex. J at 109, 128, and 140. Relying
   on nothing other than confusing allegations regarding whether JPMC or WAMU personnel were
   coached prior to their testimony, Jacobs contends that this sworn testimony is false. See Compl.
   ¶¶ 69-77.
          B.      Jacobs’ Allegations Regarding JPMC’s “False Claims”
          Jacobs’ Complaint asserts one claim for relief under the FCA, alleging that the “RICO
   False Claims Scheme” resulted in JPMC submitting false mortgage claims to Fannie Mae and
   Freddie Mac. Compl. ¶¶ 116-123. He claims that foreclosure actions that were part of the
   “RICO False Claims Scheme” resulted in JPMC gaining unmarketable title during the
   foreclosure proceeding, see id. ¶ 7, and that any “claims” JPMC may have made to Fannie and
   Freddie associated with those foreclosures were false because JPMC violated Seller and Servicer
   Guidelines that require JPMC to convey “good and marketable title.” Id. ¶¶ 23-28.
          Jacobs’ Complaint is obscure as to the nature of the “claims” JPMC made to Fannie and
   Freddie or the type of payments JPMC received as a result. On the one hand, Jacobs alleges that
   JPMC “transferred” properties with “unmarketable title” to Fannie and Freddie, suggesting that
   the alleged false claims relate to JMPC’s role as a seller. Compl. ¶ 29. On the other hand,
   Jacobs alleges that JPMC is “an approved servicer” for Fannie and Freddie loans, suggesting that
   the alleged false claims relate to JPMC’s role as a servicer. Id. ¶ 32. Moreover, Jacobs does not
   provide any clarity regarding what the claims are for—at one point he alleges they are for
   “default servicing,” id. ¶ 32, at another he alleges they are “for the amounts of the foreclosure
   judgment,” id. ¶ 31, and at still another he alleges they are “for reimbursement of foreclosure
   expenses,” id. ¶ 51. Jacobs’ Complaint is also devoid of any allegations regarding specific
   representations that JPMC made to Fannie or Freddie, or specific statements that JPMC made in
   connection with any claim.

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          Perhaps most perplexing is Appendix A, the chart of 40 loans—37 from Florida and 3
   from Ohio—that Jacobs alleges are representative samples of false claims that JPMC submitted
   to Fannie and Freddie. The Complaint contains no allegations regarding why or how Jacobs
   concluded that JPMC violated the FCA in connection with these 40 loans; the Complaint does
   not connect these 40 loans to the alleged “RICO False Claims Scheme” in any way, nor does it
   even suggest that any of the 40 loans relate in any way to the five cases that Jacobs litigated.
   Indeed, aside from a column identifying the WAMU personnel whose signature appears on the
   endorsement of these 40 loans, there is no relation between Appendix A and the allegations in
   the Complaint.
                                              ARGUMENT
          Jacobs’ Complaint should be dismissed in its entirety for three independent reasons.
   First, public sources have already disclosed the allegations that Jacobs now rehashes in his
   Complaint. Jacobs’ Complaint does not add any material information to that which has already
   been disclosed. He therefore does not qualify as an “original source,” and the FCA’s public
   disclosure bar requires dismissal with prejudice. Second, Jacobs’ Complaint is a “shotgun
   pleading”—it consists of incoherent, conclusory, and irrelevant allegations that fail to inform the
   Court or JPMC of the particular conduct at issue or how such conduct violates the FCA.
   Eleventh Circuit precedent requires its dismissal. Third, Jacobs’ Complaint fails to state a claim.
   It does not plausibly allege, or allege with the requisite particularity (1) that JPMC actually
   submitted any false claims to Fannie Mae or Freddie Mac; (2) that JPMC’s conduct with respect
   to endorsements was improper or resulted in unmarketable title that rendered any claims “false;”
   or (3) that JPMC knew that such claims were false. Each of these failures requires dismissal.
   I.     Jacobs’ Complaint Is Prohibited By The Public Disclosure Bar
          The FCA allows private plaintiffs to file suit on behalf of the United States. But if the
   allegations in the relator’s complaint have already been publicly disclosed—as they have here—
   the FCA’s public disclosure bar requires the suit to be dismissed. See 31 U.S.C.
   § 3730(e)(4)(A); Graham Cty. Soil & Water Conservation Dist. v. United States ex rel. Wilson,
   559 U.S. 280, 291-92 (2010). The public disclosure bar attempts “to strike a balance between
   encouraging private persons to root out fraud,” on the one hand, “and stifling parasitic lawsuits,”
   on the other. Graham Cty., 559 U.S. at 295. Its purpose is simple: if the government has access



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   to the same allegations in the qui tam complaint, then the government can just as easily bring the
   lawsuit itself, obviating the need for a whistleblower. Id. at 291-92.
          The “public disclosure bar provides a broa[d] sweep.” Schindler Elevator Corp. v. U.S.
   ex rel. Kirk, 563 U.S. 401, 408 (2011) (internal quotation marks omitted). It requires courts to
   dismiss an action “if substantially the same allegations or transactions as alleged in the action or
   claim were publicly disclosed,” unless the relator is an “original source” of the information.
   31 U.S.C. § 3730(e)(4)(A). An “original source” is one who “has knowledge that is independent
   of and materially adds to the public disclosed allegations or transactions.” Id. § 3730(e)(4)(B).
          In determining whether the public disclosure bar applies, courts in the Eleventh Circuit
   apply a three-part test, known as the Cooper test. Specifically, the Court asks (1) whether the
   allegations in the complaint have been publicly disclosed; (2) if so, whether the allegations in the
   complaint are substantially the same as the allegations or transactions in the public disclosure;
   and, (3) if so, whether the plaintiff is an “original source” of the information. See, e.g., U.S. ex
   rel. Osheroff v. Humana Inc., 776 F.3d 805, 812 (11th Cir. 2015); see also Cooper v. Blue Cross
   Blue Shield of Florida, Inc., 19 F.3d 562, 565 n. 4 (11th Cir. 1994).
          A.      The Allegations In Jacobs’ Complaint Have Been Publicly Disclosed
          Jacobs’ Complaint is a copy and paste of the same arguments that mortgagors and their
   foreclosure attorneys have advanced for years—and have been disclosed in publicly available
   sources. As discussed, media sources have detailed the precise allegation of alleged wrongdoing
   that Jacobs makes in his Complaint: that JPMC endorsed promissory notes on WAMU loans
   with signature stamps of WAMU officials who no longer worked at WAMU. See supra pp. 3-5.
   These disclosures, which appear on public websites, suffice for purposes of the public disclosure
   bar. See, e.g., 31 U.S.C. § 3730(e)(4)(A) (a public disclosure can come from any of several
   enumerated sources, including “from the news media”); Osheroff, 776 F.3d at 813 (“Because the
   term ‘news media’ has a broad sweep, we conclude that … publicly available websites … qualify
   as news media for purposes of the public disclosure provision.”); see also U.S. ex rel. Lorona v.
   Infilaw Corp., 2019 WL 3778389, at *11 (M.D. Fla. Aug. 12, 2019) (stating that public
   disclosures can come from publicly available websites); U.S. ex rel. Bernier v. InfiLaw Corp.,
   311 F. Supp. 3d 1288, 1292 (M.D. Fla. 2018) (same). As also discussed, mortgagors have
   pressed this same theory in public court filings and have done so years before Jacobs brought the



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   instant suit. See supra pp. 6. Clearly, the allegations in Jacobs’ Complaint have been disclosed
   publicly, satisfying the first prong of the Cooper test.
          B.      The Allegations In Jacobs’ Complaint Are Substantially The Same As Those
                  Publicly Disclosed
          The Eleventh Circuit has described the second prong of the Cooper test as a “quick
   trigger.” Osheroff, 776 F.3d at 814. It is not a scrutinizing inquiry but instead a simple
   comparison to determine whether the allegations in the complaint are substantially similar to the
   publicly disclosed allegations. Id. Here the inquiry is straightforward: as described above,
   Jacobs’ allegations of JPMC’s conduct are, without question, substantially similar, if not
   identical, to those that have been publicly disclosed.
          C.      Jacobs Is Not An “Original Source” Of The Information
          The third prong of the Cooper test is also satisfied here: Jacobs is not an “original
   source,” because he does not allege facts demonstrating that he has “knowledge that is
   independent of and materially adds to the publicly disclosed allegations.” 31 U.S.C. §
   3730(e)(4)(B) (emphasis added). To materially add to the public information, a relator must
   “contribute information—distinct from what was publicly disclosed—that adds in a significant
   way to the essential factual background: ‘the who, what, when, where and how of the events at
   issue.’” U.S. ex rel. Moore & Co., P.A. v. Majestic Blue Fisheries, LLC, 812 F.3d 294, 307 (3d
   Cir. 2016). Jacobs’ allegations do not come close to meeting this standard.
          Jacobs acknowledges that the Complaint’s allegations of JPMC’s wrongdoing with
   respect to WAMU endorsement stamps have been disclosed in public sources. See Compl. ¶ 61.
   Yet he contends that he is an “original source” of the allegations in his Complaint—and therefore
   not subject to the FCA’s public disclosure bar—because his allegations “materially add” to the
   publicly disclosed allegations. Id. ¶ 20. Namely, Jacobs alleges that he “uncovered” that JPMC
   violated the National Mortgage Settlement Consent Judgment (“NMS”) by “continuing” to
   engage in the “RICO False Claims Scheme” after signing the NMS in April 2012. 5 Id. But this
   argument fails for multiple reasons.


          5
           Like much of Jacobs’ Complaint, his allegations regarding the NMS are filled with
   contradictions that make it impossible to fully understand what he is attempting to allege. Even
   though he alleges at various points that JPMC continued to engage in the “RICO False Claims
   Scheme” after entering in the NMS, he also alleges that his “claims … do not hinge not [sic] on
   conduct uncovered before the NMS Consent Judgement,” Compl. ¶ 62, suggesting that the NMS
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          As an initial matter, it is entirely unclear what conduct Jacobs believes violated the NMS:
   that JPMC allegedly endorsed notes with WAMU stamps post-NMS, that JPMC allegedly
   prosecuted foreclosures while relying on such notes post-NMS, both, or some other conduct
   related to the alleged “RICO False Claims Scheme.” Jacobs’ allegation on this point illustrates
   the confusion:
          [T]he information allegedly uncovered by Relator ‘materially adds’ to the
          publicly-disclosed information because allegations that JPMC engaged in the
          RICO False Claims Scheme to coverup its criminal enterprise that prosecuted
          foreclosures for Fannie and Freddie in Florida and across the nation in violation
          of Florida’s RICO statute since entering into the NMS Consent Judgment—and
          continued to rely on forged endorsements in violation of the NMS Consent
          Judgment and Florida’s RICO statute.
   Id. ¶ 20. This incomprehensible allegation provides no information as to how JPMC violated the
   NMS—the conduct that violated it, how such conduct was prohibited by the NMS, when such
   conduct occurred, and the like. That is, Jacobs does not adequately allege the very information
   that he claims makes him an “original source.” 6
          Even assuming that Jacobs adequately alleged that JPMC’s conduct violated the NMS,
   this would hardly qualify him as an “original source.” After all, JPMC’s conduct at issue has
   already been disclosed in public sources post-dating the April 2012 NMS: the articles referenced
   above—which disclose virtually identical allegations of wrongdoing by JPMC—are from 2014
   and 2015, two and three years after JPMC signed the NMS in April 2012. And while Jacobs
   adds a new legal theory surrounding these factual allegations—that JPMC’s conduct violated the
   NMS—the FCA bars qui tam actions unless an “original source” adds new material facts, not
   new (and unsupported) legal theories. Moore, 812 F.3d at 307 (an “original source” must “add[]
   in a significant way to the essential factual background: ‘the who, what, when, where and how
   of the events at issue.” (emphasis added)); see also Osheroff, 776 F.3d at 814 (relator, who




   did not relate to JPMC’s use of stamped endorsements. Further, the primary factual allegations
   from the cases that Jacobs litigated describe actions that pre-date the NMS. See id. ¶¶ 65-66.
          6
            The closest Jacobs comes to pointing to any provision of the NMS is the following
   generic allegation: “Relator discovered information showing that … JPMC falsely promised to
   ensure compliance with ‘Servicing Standards’ that included standards for presenting
   documentation in foreclosure and bankruptcy cases.” Compl. ¶ 57. But again, even this
   allegation is devoid of any details regarding how exactly JPMC violated the NMS.
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   alleged wrongdoing, did not qualify as an “original source” when the public disclosures alleged
   similar factual information but did not include an allegation of wrongdoing).
          Jacobs’ Complaint does not add any new information regarding JPMC’s alleged fraud,
   much less any materially new information. See U.S. ex rel. Advocates for Basic Legal Equal.,
   Inc. v. U.S. Bank, N.A., 816 F.3d 428, 431-32 (6th Cir. 2016) (nonprofit housing group’s
   knowledge gained through client interactions “do not materially add to the thousands of prior
   problematic foreclosures already disclosed. There is nothing significant or new about the nature
   of these foreclosures other than proof that there were others like them. That doesn’t add
   anything, materially or otherwise.”). Accordingly, Jacobs is not an “original source,” and his
   Complaint must be dismissed with prejudice pursuant to the FCA’s public disclosure bar.
   II.    Jacobs’ Complaint Should Be Dismissed As A “Shotgun Pleading”
          The allegations in Jacobs’ Complaint are so confusing and contradictory that they fail to
   satisfy the most basic requirement of the Federal Rules of Civil Procedure: “a short and plain
   statement of the claim.” Fed. R. Civ. P. 8(a)(2). “Courts in the Eleventh Circuit have little
   tolerance for shotgun pleadings.” Vibe Micro, Inc., 878 F.3d at 1295. Jacobs’ Complaint tests
   that tolerance.
          Most fundamentally, the Complaint fails to give JPMC adequate notice of the claim
   against it or the conduct on which such claim is based. See Weiland, 792 F.3d at 1323 (“The
   unifying characteristic of all types of shotgun pleadings is that they fail to one degree or another,
   and in one way or another, to give the defendants adequate notice of the claims against them and
   the grounds upon which each claim rests[.]”). Jacobs’ Complaint asserts a generic violation of
   the FCA, but does not allege what sections of the FCA are supposedly violated. This omission
   renders it more difficult for JPMC to respond because the different sections of the FCA set out
   different theories of liability and contain different elements. See, e.g., 31 U.S.C. § 3729(a)(1);
   U.S. ex rel. Aquino v. Univ. of Miami, 250 F. Supp. 3d 1319, 1327 (S.D. Fla. 2017) (Williams, J.)
   (discussing different elements of a claim under 31 U.S.C. § 3729(a)(1)(A) and 3729(a)(1)(B)).
   Even more problematic, Jacobs’ allegations regarding JPMC’s underlying conduct—the so-
   called “RICO False Claims Act Scheme”—are vague, conclusory, conspiracy-laced, and fail to
   inform JPMC as to the specific conduct at issue. And, as discussed above, Jacobs’ Complaint is
   also unclear with respect to which aspects of JPMC’s alleged conduct supposedly violate the
   NMS, or how it does so.

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           This confusion about the arguably relevant allegations is bad enough; it is only
   compounded by the fact that Jacobs’ Complaint is also filled with a host of allegations that are
   not remotely connected to JPMC’s alleged misconduct. See, e.g., Weiland, 792 F.3d at 1323 (a
   “common type” of shotgun pleading is “replete with conclusory, vague, and immaterial facts not
   obviously connected to any particular cause of action”); Pelletier v. Zweifel, 921 F.2d 1465, 1518
   (11th Cir.1991) (“[Plaintiff’s complaints] are quintessential ‘shotgun’ pleadings, replete with
   factual allegations that could not possibly be material to any of the causes of actions they
   assert”). For instance, Jacobs dedicates four pages of his Complaint to a case he litigated against
   Bank of America, which is not a party to this case. See Compl. ¶¶ 89-95. Another seven pages
   are filled with confusing allegations related to the conduct of Wells Fargo, Bank of America, and
   JPMC prior to the NMS—with no coherent explanation as to how such conduct has any bearing
   on JPMC’s conduct supposedly at issue in this case. See id. ¶¶ 96-114. Indeed, many of these
   allegations relate to JPMC’s and other mortgage servicers’ use of Mortgage Electronic
   Registration Systems, Inc. (“MERS”). See id. ¶¶ 100-107. But JPMC’s use of MERS is not an
   issue in this case and has nothing to do with JPMC’s promissory note endorsement practices.
           Jacobs’ approach—take a number of confusing allegations about JPMC (and other banks
   that are not defendants), throw them all into a complaint, and hope that something sticks—is a
   textbook definition of a shotgun pleading, and his Complaint should therefore be dismissed.
   III.    Jacobs’ Complaint Does Not Adequately Allege A FCA Violation
           Jacobs’ Complaint should also be dismissed because it fails adequately to allege, under
   either Rule 8 or Rule 9(b), that JPMC violated the FCA with respect to JPMC’s alleged claim for
   payment, the underlying conduct that supposedly made that claim false, and JPMC’s alleged
   knowledge of such falsity.
           A.      Standard of Review
           To survive a motion to dismiss, a plaintiff’s allegations “must contain sufficient factual
   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.
   Iqbal, 556 U.S. 662, 678 (2009); see also Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1295 (11th
   Cir. 2007) (“[The] factual allegations must be enough to raise a right to relief above the
   speculative level”) (internal citations omitted). A claim is facially plausible if the facts alleged
   permit the court reasonably to infer that a defendant’s conduct was unlawful, but factual
   allegations that are “‘merely consistent with’ a defendant’s liability” are not facially plausible.

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   Iqbal, 556 U.S. at 678. Moreover, “conclusory allegations, unwarranted factual deductions or
   legal conclusions masquerading as facts will not prevent dismissal.” U.S. ex rel. Keeler v. Eisai,
   Inc., 568 F. App’x 783, 792-93 (11th Cir. 2014) (internal citations omitted).
          In addition, a complaint alleging a violation of the FCA must meet the heightened
   pleading standards of Federal Rule of Civil Procedure 9(b). Urquilla-Diaz v. Kaplan University,
   780 F.3d 1039, 1051 (11th Cir. 2015). “[T]he Eleventh Circuit has recognized that while the
   requirements of Rule 9(b) may, in practice, make it difficult for a qui tam plaintiff to bring an
   action, they are necessary to prevent speculative suits against innocent actors for fraud.” Aquino,
   250 F. Supp. 3d at 1327 (internal citation omitted). A plaintiff must meet the particularity
   pleading requirement of Rule 9(b) with respect to each element of a FCA claim, Jallali v. Sun
   Healthcare Group, No. 15-14231, 2016 WL 3564248, at *1 (11th Cir. July 1, 2016), including
   with respect to both the submission of a false claim and the underlying conduct that renders that
   claim false, Aquino, 250 F. Supp. 3d at 1327.
          B.      Jacobs Has Not Alleged Submission Of A False Claim With Particularity
          “The particularized allegation that the defendants actually submitted a false claim, and by
   extension that the government actually paid, is at the heart of an FCA violation.” Aquino, 250 F.
   Supp. 3d at 1329. This allegation, much like the allegation of the underlying wrongful conduct,
   must be pled with particularity—a relator is required “to allege the ‘who,’ ‘what,’ ‘where,’
   ‘when,’ and ‘how’ of the fraudulent submissions to the government.” Corsello v. Lincare, Inc.,
   428 F.3d 1008, 1014 (11th Cir. 2005). Yet Jacobs’ Complaint does not allege any of these
   details with particularity—or even with clarity.
          Jacobs generally alleges that JPMC failed to gain “good and marketable title” in
   foreclosure proceedings, and that JPMC then “submit[ted] false claims for payments from Fannie
   and Freddie knowing the foreclosure titles were at all times unmarketable due to criminal fraud.”
   Compl. ¶ 13. But the Complaint is filled with unclear and contradictory allegations about the
   most basic details of these claims: what JPMC submitted to Fannie Mae or Freddie Mac, what
   the submissions were for, and what payments Fannie Mae and Freddie Mac made as a result. In
   one paragraph, Jacobs alleges that Fannie Mae and Freddie Mac made payments to JPMC “for
   default servicing” of the 40 loans identified in Appendix A. Id. ¶ 32. But in the immediately
   prior paragraph, Jacobs alleges that Fannie Mae and Freddie Mac “made payments to JPMC for
   the amounts of the foreclosure judgment.” Id. ¶ 31. In this same paragraph, Jacobs also alleges

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   that Fannie Mae and Freddie Mac made “other payments and benefits” to JPMC—but does not
   allege what those “payments and benefits” are or whether they were in response to any claims, or
   what relationship they had to any alleged representation about “marketable title.” Id. In still
   another paragraph, Jacobs alleges that Fannie Mae and Freddie Mac are reimbursing JPMC for
   “fees incurred,” with no allegation as to what those fees are. Id ¶ 27. And in yet another
   paragraph, Jacobs alleges that the unidentified “claims paid” were “for reimbursement of
   foreclosure expenses.” Id. ¶ 51.
           In short, the Complaint makes at least five different confusing and inconsistent
   allegations regarding JPMC’s claims to Fannie Mae and Freddie Mac. And while the Complaint
   alleges that “[e]very record JPMC presented in support of every request JPMC submitted to
   Fannie and Freddie … constitute individual false claims” (Compl. ¶ 16), the Complaint provides
   no information as to what these records are, what claims they supported, or any representations
   that JPMC made on such records. This fatal deficiency warrants dismissal. See U.S. ex rel.
   Clausen v. Lab. Corp. of Am. Inc., 290 F.3d 1301, 1311 (11th Cir. 2002) (the submission of a
   claim is not a “ministerial act,” “but the sine qua non of a False Claims Act violation” (emphasis
   in original)).
           Still further, it is not clear that claims submitted to Fannie Mae and Freddie Mac, which
   are publicly-traded corporations, are even actionable under the False Claims Act—especially
   where, as here, there is no detail regarding the claims submitted or paid. See, e.g., U.S. ex rel.
   Adams v. Wells Fargo Bank Nat. Ass’n, No. 2:11-CV-00535-RCJ, 2013 WL 6506732, at *8 (D.
   Nev. Dec. 11, 2013) (“The GSE are therefore not instrumentalities of the United States, and an
   alleged attempt to defraud them is not an alleged attempt to assert a false claim against the
   United States under the FCA.”), aff’d sub nom. U.S. ex rel. Adams v. Aurora Loan Servs., Inc.,
   813 F.3d 1259 (9th Cir. 2016); U.S. ex rel. Todd v. Fid. Nat’l Fin., Inc., No. 1:12-CV-666-REB-
   CBS, 2014 WL 4636394, at *10 (D. Colo. Sept. 16, 2014) (“Only actions which have the
   purpose and effect of causing the government to pay out money are clearly claims within the
   purpose of the [False Claims] Act. Plaintiff has not identified the necessary link between the
   money Freddie Mac received from the government and the money Freddie Mac used to pay
   Defendants for title policies; accordingly, the portions of Plaintiff’s First and Second claims
   predicated on 31 U.S.C. § 3729(b)(2)(A) should be dismissed.”) (internal citations omitted).



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           C.      Jacobs Has Not Alleged Falsity
           Jacobs’ Complaint also fails to plead falsity—a core element of any FCA violation 7—
   under either Rule 8 or Rule 9(b). The entire basis of Jacobs’ contention that JPMC’s claims were
   “false” is that a “RICO False Claims Scheme” resulted in JPMC not acquiring “good and
   marketable title” in foreclosure proceedings, and that JPMC’s conveyance of unmarketable title
   violated Fannie Mae and Freddie Mac guidelines. Compl. ¶¶ 11, 26, 28. Jacobs’ allegations of
   falsity fail for three reasons: (1) he does not plausibly allege or allege with particularity the
   underlying “RICO False Claims Scheme;” (2) he alleges no information about the foreclosures
   or any allegedly fraudulent conduct with respect to the 40 sample loans identified in Appendix
   A; and (3) even if he did allege some irregularity in the foreclosures related to the 40 sample
   loans (which he does not), he does not allege that such irregularities resulted in JPMC failing to
   gain “good and marketable” title.
                   1.      Jacobs Has Not Alleged the “RICO False Claims Scheme” With
                           Plausibility or Particularity
           Jacobs must allege, plausibly and with particularity, the underlying fraudulent scheme
   that supposedly rendered JPMC’s foreclosure titles unmarketable. See, e.g., Aquino, 250 F.
   Supp. 3d at 1328. Yet almost all of Jacobs’ allegations regarding the supposed “RICO False
   Claims Scheme” are conclusory and devoid of any factual allegations. The only factual
   allegations that Jacobs offers are those related to the five cases that he litigated. See Compl.
   ¶¶ 64-77. But those allegations do not even suggest wrongdoing with respect to those five cases,
   much less with respect to some far-reaching scheme. Indeed, most of those allegations relate to
   testimony from JPMC or WAMU personnel regarding WAMU’s note endorsement practices.
   See id. ¶¶ 69-77. According to this testimony, once WAMU originated a mortgage loan, its
   practice was to image the promissory note into its system prior to endorsing it, and then send it to
   be endorsed. See id. Ex. K at 31-32. This meant that, for some promissory notes, JPMC could
   not pinpoint a precise date that the note was endorsed by WAMU. Jacobs uses this
   unremarkable point to reach the extraordinary allegation that JPMC must have engaged in a
   fraudulent scheme by which it acquired WAMU endorsement stamps, applied those endorsement

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            As discussed infra Section IV, Jacobs does not allege what section of the FCA JPMC
   has supposedly violated, but “falsity” is an element of claims under each section, including the
   two that seem to be most relevant for Jacobs’ complaint: (1) the “false claim” provision, 31
   U.S.C. § 3729(a)(1)(A), and (2) the “make or use” provision, id. § 3729(a)(1)(B).
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   stamps to WAMU notes long after WAMU ceased to exist, and presented those notes in
   foreclosure proceedings, all while misleading courts about when the endorsements were applied.
          Jacobs offers no factual support for this theory. To the contrary, he points to one case
   that he litigated, the Mohammed case, that included an image of an unendorsed note from 2007,
   and an image of an endorsed note from 2010. Compl. ¶ 66. He alleges that because JPMC could
   not definitively prove that this specific note was endorsed prior to WAMU closing in 2008, it
   must mean that JPMC fraudulently endorsed it after that date. Id. This is simply not plausible,
   and in no way gives rise to any reasonable inference that JPMC engaged in the supposed
   fraudulent conduct at issue, especially given the sworn testimony that JPMC did not endorse
   WAMU promissory notes. See id. Ex. J at 109, 128, and 140.
          Indeed, Jacobs turns the law on its head. Under the Uniform Commercial Code,
   endorsements are presumed authentic and authorized absent evidence to the contrary. See, e.g.,
   Fla. Stat. §673.8031; R.C. 1303.36 (Ohio). In other words, to prove its standing, JPMC is not
   required to “produce … competent evidence” to establish that the endorsement is valid,
   authentic, and authorized; the endorsement is presumed so, absent evidence to the contrary. And
   Jacobs’ factual allegations—that there is an October 2007 image of the note without an
   endorsement, and a January 2010 image of the note with an endorsement—are insufficient to
   overcome the presumption. The law does not say that endorsements are presumed valid only if
   there is a contemporaneous, dated picture of the note with the endorsement. The absence of
   photographic image of the endorsement, taken prior to September 2008, is not evidence that the
   endorsement did not exist prior to September 2008. And the existence of an image of the
   endorsement, taken in January 2010, is not evidence that the endorsement did not exist before
   then, much less evidence of a forgery.
                  2.      Jacobs Has Not Alleged Unmarketable Title With Respect To The 40
                          Claims Supposedly Submitted to Fannie Mae and Freddie Mac
          Because Jacobs has not adequately alleged that JPMC’s supposed conduct rendered the
   foreclosure title unmarketable, he has failed to plead falsity. But even if he had adequately
   alleged that JPMC engaged in fraud with respect to the endorsements and foreclosures in the
   cases that he litigated, the Complaint still fails because it does not include any allegation that any
   of those foreclosures resulted in the submission of any claim to Fannie or Freddie. There is
   simply no connection between the cases that Jacobs litigated and the list of 40 loans that he


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   alleges are examples of false claims submitted to Fannie and Freddie. None of the cases he
   litigated and describes in his Complaint are included in Appendix A, the list of loans that serve
   as the basis for his FCA case. Compare Compl. ¶¶ 64-77 with Ex. A. And for the 40
   foreclosures in Appendix A, there is no information whatsoever about the underlying foreclosure
   or endorsement, other than the fact that the promissory note included an endorsement.
          In short, Jacobs’ Complaint does not even attempt to allege a nexus between the cases
   that he litigated and describes in his Complaint and the claims allegedly submitted to Fannie Mae
   and Freddie Mac. This failure requires dismissal. Aquino, 250 F. Supp. 3d at 1329 (“[A] relator
   must show that … there was a nexus between the alleged improper practices and the submission
   of those claims”).
                  3.      Jacobs Has Not Alleged That Any Irregularities Would Result In
                          Unmarketable Title
          Even if Jacobs’ Complaint did include allegations that the promissory note endorsements
   or foreclosure processes with respect to the 40 loans were somehow improper, this alone would
   not be sufficient to allege that JPMC lacked marketable title with respect to those loans. That is
   because 37 of the 40 loans are from Florida—and presumably the foreclosure proceedings took
   place in Florida—and Florida law provides that irregularities in foreclosure documents, even if
   they are present, do not provide a basis for challenging foreclosure title after the foreclosure
   judgment becomes final. Fla. Stat. § 702.036(1)(a). More specifically, Florida law precludes
   post-judgment challenges to foreclosure title if certain minimal requirements are met, namely:
   (1) proper service of the foreclosure complaint; (2) entry of a foreclosure judgment without a
   successful appeal by the borrower; (3) subsequent acquisition of the property for value by
   someone other than the foreclosing lender; (4) at a time when no lis pendens is pending in the
   county records. Id. Jacobs does not allege that these requirements were unmet with respect to
   the 40 foreclosures in Appendix A (or with respect to any of the foreclosures he litigated);
   without such allegations, Jacobs has failed to allege that any defect in the foreclosure
   proceedings impaired the marketability of the foreclosure titles provided to Fannie or Freddie.
          D.      Jacobs Has Not Alleged JPMC’s Knowledge
          Jacobs’ Complaint also fails under Rule 9(b) and Rule 8 because he does not adequately
   allege JPMC’s knowledge of the supposed false claims. To satisfy the FCA’s knowledge
   requirement, Jacobs must allege with particularity that JPMC had actual knowledge that the


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   claims were false or acted in deliberate ignorance or in reckless disregard of the truth or falsity of
   the information. See, e.g., 31 U.S.C. § 3729(b)(1); Aquino, 250 F.Supp.3d at 1328. The FCA’s
   scienter requirement is rigorous, Universal Health Servs., Inc. v. United States, 136 S. Ct. 1989,
   2002 (2016), yet Jacobs does not even attempt to allege facts suggesting that, with respect to the
   40 claims that JPMC allegedly submitted to Fannie Mae and Freddie Mac, JPMC did so with
   knowledge that such claims falsely attested that title was marketable. As discussed supra, he
   alleges no information at all about those claims, instead vaguely alleging as follows:
           Every record JPMC presented in support of every request JPMC submitted to
           Fannie and Freddie and every payment and benefit received from Fannie and
           Freddie while pursuing fraudulent foreclosures across Florida, and across the
           nation, knowing the RICO misconduct alleged herein rendered the titles at issue
           unmarketable constitute individual false claims.
   This is the opposite of a factual allegation with particularity. And it is circular. It alleges that
   every claim made knowing that the alleged misconduct impaired the foreclosure title constituted
   a false claim, without identifying which claims were made with such knowledge. Jacobs’ failure
   to sufficiently JPMC’s knowledge is yet another grounds for dismissal.
                                             CONCLUSION
           For the reasons discussed above, Jacobs’ Complaint should be dismissed, and, pursuant
   to the public disclosure bar, with prejudice.




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                                    REQUEST FOR HEARING
          Defendant JPMC respectfully requests that the Court hold oral argument on this motion
   to dismiss. Given the seriousness of the allegations—that JPMC allegedly defrauded the federal
   government—JPMC would appreciate the opportunity to explain, in greater detail than the page
   limit allows, the multiple independent grounds for dismissal of Jacob’s Complaint. JPMC
   believes oral argument may be especially beneficial for the Court given the lack of clarity and
   the length of Jacobs’ Complaint: 47 pages and 28 exhibits, including some running hundreds of
   pages long.
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    Date: November 9, 2020
                                            Respectfully submitted,

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